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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

NATIONAL ASSOCIATION FOR
THE ADVANCEMENT OF COLORED
PEOPLE (“NAACP”), NAACP
CONNECTICUT STATE CONFERENCE,
JUSTIN FARMER, GERMANO KIMBRO,
CONLEY MONK, GARRY MONK,
DIONE ZACKERY,
  Plaintiffs,

         v.                                        3:18cv1094 (WWE)
DENISE MERRILL, Secretary
of State, et al.,
  Defendants

                       RULING ON MOTION TO STAY

      In   this   action,   plaintiffs   NAACP,   NAACP      Connecticut     State

Conference, Justin Farmer, Germano Kimbro, Conley Monk, Garry Monk

and Dione Zackery bring a constitutional challenge to the legislative

Redistricting Plan that Connecticut adopted in 2011; plaintiffs assert this

action against the Connecticut Secretary of State and Governor. Plaintiffs

seek a declaration that that the Redistricting Plan violates the Fourteenth

Amendment to the United States Constitution and seek an injunction against

its use in the 2020 elections. Specifically, plaintiffs allege that the legislative

Redistricting Plan’s “unlawful prison gerrymandering” violates the principle


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of “one person, one vote” encompassed by the Fourteenth Amendment.

      This Court denied a defense motion to dismiss for lack of jurisdiction

and failure to state a claim. Defendants had argued that the action was

barred by the Eleventh Amendment due to a failure to allege an on-going

violation of federal law. However, this Court held that the complaint stated

a plausible on-going violation of the Equal Protection clause. The Court

noted: “The instant case implicates the plausible compromise of fair and

effective representation due to the Redistricting Plan’s reliance upon total

population census data when, by state law, incarcerated individuals are not

even considered residents of their prison location.” The Court concluded

that review of the merits of the action was appropriate for summary

judgment.

      Defendants have filed an interlocutory appeal of this ruling pursuant

to the collateral order doctrine. They have requested that the Court stay

the action pursuant to the dual jurisdiction rule providing that an

interlocutory appeal on immunity grounds “divests the district court of

jurisdiction to proceed….unless the district court certifies that the appeal is

frivolous.” City of New York v. Beretta U.S.A. Corp., 234 F.R.D. 4651

(E.D.N.Y. 2006). Plaintiffs assert that a stay is inappropriate on legal

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grounds, and that it is prejudicial in light of the fact that the asserted equal

protection violation concerns the 2020 state legislative election.

Defendants’ appeal may not be resolved quickly, which could hinder

plaintiffs’ ability to litigate this claim. Plaintiffs seek to proceed with

discovery. The Court agrees that a stay should be not granted in this

case.

        Plaintiffs assert an equal protection challenge to the defendants’

redistricting plan, which presents a plausible constitutional challenge.

Baker v. Carr, 369 U.S. 186, 237 (1962) (allegations of denial of equal

protection present justiciable cause of action). Additionally, the Eleventh

Amendment does not bar federal courts from granting prospective

injunctive relief to prevent a continuing violation of federal law.” Green v.

Mansour, 474 U.S. 64, 68 (1985); Ex Parte Young, 209 U.S. 123, 160

(1908). The inquiry into whether jurisdiction exists under the exception

articulated by Ex Parte Young and its progeny “does not include an

analysis of the merits of the claim.” Verizon Maryland, Inc. v. Pub. Ser.

Comm’n of Maryland, 535 U.S. 635, 645-46 (2002).

        Here, defendants’ assert that its redistricting practice is authorized on

basis of Evenwel v. Abbott, 136 S. Ct. 1120 (2016), which held that a

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redistricting map “presumptively complies with the one-person, one- vote

rule” if the “maximum population deviation between the largest and the

small district is less than 10%” when measured by a facially neutral

population baseline. However, defendants’ assertion that plaintiffs cannot

establish an on-going constitutional violation under this standard requires a

decision on the merits. Accordingly, for purposes of considering whether a

stay should issue under the dual jurisdiction rule, the Court finds that

defendants’ appeal on the basis of the Eleventh Amendment is frivolous

because plaintiffs have alleged a plausible claim of an on-going equal

protection violation seeking prospective relief. Additionally, the Court finds

that denial of the stay is appropriate due to consideration of the importance

of timely completion of discovery in this case, the likelihood of delay due to

the appeal, and importance of the equal protection issues raised by this

appeal. See Niken v. Holder, 556 U.S. 418, 434 (2009). The Court will

refer this case to Magistrate Judge Spector for a discovery and scheduling

conference. The motion to stay is DENIED.

      Dated this 8th day of May 2019 at Bridgeport, Connecticut.

                                    /s/Warren W. Eginton
                                    Warren W. Eginton
                                    Senior U.S. District Judge

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